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Office of the New York State                                                         Letitia James
Attorney General                                                                  Attorney General

                                                       February 27, 2025

By ECF
Honorable Anne M. Nardacci
United States District Court
James T. Foley United States Courthouse
445 Broadway
Albany, New York 12207


       Re:     United States of America v. State of New York et al.
               No. 25-cv-205 (AMN) (MJK)

Judge Nardacci:

        This office represents defendants the State of New York, and Governor Kathy Hochul,
Attorney General Letitia James, and the State Department of Motor Vehicles Commissioner Mark
J.F. Schroeder, all of whom are sued in their official capacities in the above-referenced action.

        I am writing to request a brief extension of defendants’ time to respond to the complaint
through March 25, 2025. Plaintiff does not oppose the request. At present, defendants’ deadlines
to respond to the complaint are March 6 (for the State and Attorney General James), and March 11
(for Governor Hochul and Commissioner Schroeder). This the first request for an extension, which
is being made (1) to consolidate the responsive deadlines for defendants to a single date, and (2)
to allow defendants time to review the allegations set forth in the complaint and prepare an
appropriate joint response.

       Thank you for your attention and consideration in this matter.

                                                       Respectfully submitted,

                                                       /s/ Linda Fang
                                                       LINDA FANG
                                                       Special Litigation Counsel
                                                       (212) 416-8580
                                                       Linda.Fang@ag.ny.gov




                       Litigation Bureau | 28 Liberty Street, New York NY 10005
                                       212-416-8610 | ag.ny.gov
